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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



                                                       : Case No. 17-21185-CIV-WILLIAMS
  ASH-LYNN SINGLETON,
            Plaintiff,                                 : CIVIL ACTION
                                                       :
         v.                                            :
                                                       :
  MAURY COBB ATTORNEY AT LAW, LLC,                     :
           Defendant.                                  :
                                                       :


                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED TO by the Plaintiff and Plaintiff’s

  attorney, that whereas no party hereto is an infant, incompetent person for whom a committee

  has been appointed or conservatee, and no person not a party has an interest in the subject matter

  of the action, that the above entitled action against Defendant shall be and hereby is dismissed

  with prejudice and on the merits, without costs, or disbursements, or attorney’s fees to any party

  pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and that judgment of

  dismissal with prejudice may be entered in the above entitled action pursuant hereto.



  Dated: September 6, 2017                                       Respectfully Submitted,

                                                                  /s/Michael Jay Ringelheim
                                                                 Michael Jay Ringelheim, Esq.
                                                                 RC Law Group, PLLC
                                                                 285 Passaic Street
                                                                 Hackensack, NJ 07601
                                                                 mjringelheim@rclawgroup.com
                                                                 Tel. 201-282-6500
                                                                 Fax 201-282-6501
                                                                 Attorneys for Plaintiff

                                        Certificate of Service
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          I hereby certify that on this date, I electronically filed this Notice of Voluntary Dismissal
  using the CM/ECF system which will automatically send email notification of such filing to all
  attorneys of record.


         This 6th day of September, 2017                 Respectfully Submitted,

                                                         /s/ Michael Jay Ringelheim
                                                         Michael Jay Ringelheim, Esq.
